                                 UNITED STA TES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE

                                                                                                     .jM   2 '7 2023
    William Anthony, et al.
                                                                                        Clerf<, U. S. District Court
                  Plaintiff,                                                          Eastern District of Tennessee
   v.                                                                 Case No. 3:22-cv-00416 /\t l<noxville
    Premier Franchising Group, LLC., Franchise Fai                      ~ewpt it ~oooo 1139
                  Defendant.


                           MOTION FOR ADMISSION PRO HAC VICE

          The undersigned, counsel for Kimberly Daly

   moves for admission to appear in this action pro hac vice.

          Pursuant to E.D. Tenn. LR. 83.S(b)(l)(C). FILING FEE= $90.00

          [l]     I am a member in good standing of the highest court of the following state,
                  territory or the District of Columbia (list ALL states):
                   Minnesota and Montana
          [l]     AND I am a member in good standing of another U.S. District Court. A
                  certificate of good standing from the DISTRICT court is attached. ).

                                                   IOR I
          Pursuant to E.D. Tenn. LR. 83.S(b)(l)(C). NO FILING FEE REQUIRED.

          D       An application for my admission to practice in this Court is currently pending.



          I declare under penalty of perjury that the foregoing is true and correct.

          Date: 1/24/2023


                                            (Signature-hand signed)
   Name: Alexander J. Beeby
   Firm: Sapientia Law Group
   Address:

            120 South Sixth Street, Suite 100 Minneapol_
                                                       is, MN 55402


   Email address: alexb@sapientialaw.com

                 Once your motion is granted, you must register as an E-Filer with this Court. For
                                      instructions visit the Court's website.




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AO 136 (Rev. 10/13) Certificate of Good Standing



                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District of Minnesota

                                             CERTIFICATE OF GOOD STANDING




          I,                                            Kate M. Fogarty                                  , Clerk of this Court,
               ------------------------------

certify that                              Alexander J. Beeby                     B         #          398286
                --------------------'                                                fil       -------------


was duly admitted to practice in this Court on                     11/30/2016
                                                         - - - - - - - - - - - , and is in good standing as a member

of the BM of this Court.


Dated at                                    St. Paul, Minnesota                       on             01/24/2023
               - - - - - - - - - -(Location)
                                    ------------                                               - - - - - -(Date)
                                                                                                           -------




                            Kate M. Fogarty
                                  CLERK




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